This is a suit to recover for damages to the plaintiff's motor vehicle as the result of a collision.
The plaintiff had left Pine Street in the town of Columbia, had turned right and was proceeding in an easterly direction toward Willimantic on U.S. Route 6 when he was involved in a collision with a car owned and operated by the defendant which was coming down a hill and proceeding in a westerly direction on said U.S. Route 6.
The defendant claims that the plaintiff in coming out of Pine Street made a wide turn, coming onto his side of the highway, and then swung back, resulting in the collision. The plaintiff, on the other hand, claims that he stopped at a stop sign on Pine Street, proceeded into the intersection, turned to his right, headed in an easterly direction, stopped and was struck by the defendant's car. The defendant denies that the plaintiff stopped at the stop sign and claims that he could see into Pine Street for some thirty feet from a distance at or near the brow of the hill down which he was proceeding. *Page 348 
The weather at the time was very bad for driving. There were patches of snow on the ground and considerable snow flurries, which were chiefly occasioned by gusts of wind blowing the fallen snow about the highway. There were also banks of snow piled on each side of the highway around the intersection.
The testimony as to the physical marks about the intersection and the point where the accident occurred, some thirty feet east of the intersection on the south side of the highway would indicate that the negligence in this case was upon the part of the defendant. The traveled portion of the highway was about eighteen feet and the car of the plaintiff was well over on its side of the road, with the car of the defendant some two feet over on the plaintiff's or south side of the road.
The testimony of the parties was at variance, but the court from the physical facts can only find that the defendant was negligent.
   Judgment may enter for the plaintiff to recover $260.31.